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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MARYLAND
                              GREENBELT DIVISION


 CASA, INC. et al.,

                 Plaintiffs,

         v.
                                                          Case No.: 8:25-cv-00201-DLB
 DONALD J. TRUMP et al.,                                  Honorable Deborah L. Boardman

                 Defendants.




      PLAINTIFFS’ MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                       PRELIMINARY INJUNCTION

       Plaintiffs, by and through their undersigned counsel, hereby move the Court pursuant to

Rule 65 of the Federal Rules of Civil Procedure for a temporary restraining order and preliminary

injunction enjoining the enforcement of Defendant President Donald J. Trump’s Executive Order

entitled “Protecting the Meaning and Value of American Citizenship” (January 20, 2025). As set forth in

the attached memorandum of law, the Executive Order violates the plain language of the Fourteenth

Amendment and 8 U.S.C. § 1401(a) and conflicts directly with binding Supreme Court precedent.

Plaintiffs respectfully request that this Court issue a temporary restraining order and preliminary

injunction to prevent the imminent violation of Constitutional rights and prevent irreparable harm

to Individual Plaintiffs, Organizational Plaintiffs’ members, and their future children, and to

maintain the status quo for babies being born within the United States to parents who are covered



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by the Executive Order. In support of this motion, Plaintiffs submit the attached memorandum of

law and accompanying exhibits.

Respectfully submitted this January 21, 2025,

                                                  /s/Joseph W. Mead
Nicholas Katz, Esq. (D. Md. 21920)                Joseph W. Mead (D. Md. 22335)
CASA, INC.                                        Mary B. McCord (D. Md. 21998)
8151 15th Avenue                                  Rupa Bhattacharyya*
Hyattsville, MD 20783                             William Powell*
240-491-5743                                      Alexandra Lichtenstein*
nkatz@wearecasa.org                               Gregory Briker*
                                                  INSTITUTE FOR CONSTITUTIONAL ADVOCACY
Conchita Cruz*                                      AND PROTECTION
Zachary Manfredi*                                 Georgetown University Law Center
ASYLUM SEEKER ADVOCACY PROJECT                    600 New Jersey Ave., N.W.
228 Park Ave. S., #84810                          Washington, D.C. 20001
New York, NY 10003-1502                           Phone: (202) 662-9765
(646) 600-9910                                    Fax: (202) 661-6730
conchita.cruz@asylumadvocacy.org                  jm3468@georgetown.edu
zachary.manfredi@asylumadvocacy.org               mbm7@georgetown.edu
                                                  rb1796@georgetown.edu
                                                  whp25@georgetown.edu
                                                  arl48@georgetown.edu
                                                  gb954@georgetown.edu


                                                  Attorneys for Plaintiffs



*Motion for admission pro hac vice forthcoming.




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                                 CERTIFICATE OF SERVICE

       I hereby certify that, on January 21, 2025, I electronically filed the foregoing with the Clerk

of the Court by using the CM/ECF system. There is currently no Counsel of Record for

Defendants. I certify that I will serve the foregoing motion, the accompanying brief in support, and

all exhibits, on Defendants.

                                                         /s/ Joseph W. Mead
                                                         Joseph W. Mead
